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                          IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  FOR	  THE	  	  
                                           DISTRICT	  OF	  MARYLAND	  
                                             BALTIMORE	  DIVISION	  
	  
UNITED	  STATES	  OF	  AMERICA	                        )	  
	   	       	          	    	                         )	  
              v.                                           )	          	        NO.	  1:16CR484	  
                                                           )	          	        	  
AARON	  BOHL	  et	  al.	   	              	          )	          	  
	   	        	              	              	          )	  
                                               	          )	          	        	  
	            Defendant.	  	   	            	          )	          	        	  
	  
        MOTION	  FOR	  JAMES	  HEARING	  AND	  INCORPORATED	  MEMORANDUM	  IN	  
                                             SUPPORT	  
	  
              Comes	  now,	  the	  accused,	  Kimberly	  Rayfield,	  by	  counsel,	  and	  moves	  the	  Court	  

to	   hold	   a	   pretrial	   James	   hearing	   to	   determine	   admissibility	   of	   alleged	   co-­‐‑conspirator	  

statements.	  	  In	  support	  of	  this	  request,	  Ms.	  Rayfield	  offers	  the	  following:	  

	  
                                                     Background	  
                                                               	  
              Kimberly	   Rayfield	   is	   charged	   with	   with	   conspiracy	   to	   commit	   racketeering	  

along	  with	  38	  other	  defendants.	  	  Ms.	  Rayfield	  worked	  at	  ECI	  as	  a	  correctional	  offier	  

and	  is	  alleged	  to	  have	  engaged	  in	  acts	  of	  corruption	  involving	  one	  of	  her	  codefendants.	  

                                                                   Argument	  
	  
       I.          This	   Court	   has	   the	   discretion	   to	   order	   a	   pretrial	   hearing	   on	   the	  
                   admissibility	  of	  co-­‐‑conspirator	  statements.	  	  	  
	  
              Federal	   Rule	   of	   Evidence	   801(d)(2)(E)	   permits	   the	   admission	   of	   co-­‐‑

conspirator	   statements	   made	   in	   furtherance	   of	   the	   conspiracy,	   which	   would	  

otherwise	  be	  excluded	  under	  the	  hearsay	  rule,	  if	  the	  proponent	  of	  the	  evidence	  is	  able	  

to	   show	   that	   a	   conspiracy	   exists,	   and	   that	   the	   statement	   was	   made	   in	   furtherance	   of	  

that	  conspiracy.	  	  The	  statement	  itself	  cannot	  be	  the	  sole	  proof	  of	  a	  conspiracy.	  	  Fed.	  R.	  
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Evid.	  801(d)(2)(E)(stating	  that	  “[t]he	  statement	  must	  be	  considered	  but	  does	  not	  by	  

itself	  establish	  the…the	  existence	  of	  the	  conspiracy	  or	  participation	  in	  it);	  FTC	  v.	  Ross,	  

743	   F.3d	   886,	   894	   (4th	   Cir.	   2014)(“It	   is	   true,	   of	   course,	   that	   the	   proponent	   for	  

admission	   of	   a	   co-­‐‑conspirator’s	   out-­‐‑of-­‐‑court	   statement	   ‘must	   demonstrate	   the	  

existence	   of	   the	   conspiracy	   by	   evidence	   extrinsic	   to	   the	   hearsay	   statements.’”)	  	  

Moreover,	  the	  judge,	  and	  not	  the	  jury,	  must	  determine	  the	  existence	  and	  scope	  of	  the	  

conspiracy,	   as	   well	   as	   whether	   the	   statement	   was	   made	   in	   furtherance	   of	   that	  

conspiracy.	   See	   Fed.	   R.	   Evid.	   104(a)(requiring	   judge	   to	   determine	   questions	   of	  

admissibility);	  United	  States	  v.	  James,	  590	  F.	  2d	  575,	  580	  (5th	  Cir.	  1979)(holding	  that	  

under	   Federal	   Rules	   of	   Evidence,	   judge	   alone	   must	   determine	   admissibility	   of	   co-­‐‑

conspirator	   statements).	   	   The	   Government	   must	   prove	   the	   conditions	   for	  

admissibility	  by	  a	  preponderance	  of	  the	  evidence.	  	  United	  States	  v.	  Blevins,	  960	  F.2d	  

1252,	  1255	  (4th	  Cir.	  1992)	  

               While	   the	   Fourth	   Circuit	   does	   not	   require	   district	   courts	   to	   hold	   pretrial	  

hearings	  on	  the	  admissibility	  of	  co-­‐‑conspirator	  statements,	  See	  United	  States	  v.	  Hines,	  

717	  F.2d	  1481,	  1488	  (4th	  Cir.	  1983),	  this	  Court	  undoubtedly	  retains	  the	  discretion	  to	  

order	  such	  a	  hearing	  in	  an	  appropriate	  case,	  pursuant	  to	  its	  general	  trial	  management	  

powers	  and	  the	  ability	  to	  decide	  the	  order	  of	  proof.	  	  Some	  district	  courts	  in	  this	  Circuit,	  

for	  example,	  have	  opted	  to	  require	  the	  Government	  to	  submit	  a	  proffer	  of	  the	  evidence	  

on	   the	   admissibility	   of	   co-­‐‑conspirator	   statements	   prior	   to	   trial	   in	   order	   to	   resolve	  

admissibility	  questions.	  	  See	  United	  States	  v.	  Nelson,	  530	  F.	  Supp.	  2d	  719,	  728	  (D.	  Md.	  

2008).	  	  	  
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                Hines	   held	   that	   where	   the	   district	   court	   conditionally	   admits	   a	   statement	  

under	  Fed.	  R.	  Evid.	  801(d)(2)(E),	  and	  the	  Government	  subsequently	  fails	  to	  produce	  

evidence	   that	   the	   statement	   was	   made	   in	   furtherance	   of	   a	   conspiracy,	   the	   district	  

court	  must	  be	  prepared	  to	  safeguard	  the	  defendant’s	  right	  to	  a	  fair	  trial	  by	  “either	  

[declaring]	  a	  mistrial	  or	  [dismissing]	  the	  case.”	  	  Hines,	  717	  F.2d	  at	  1488.	  	  Other	  Courts	  

considering	   this	   question	   have	   noted	   that	   “the	   better	   practice	   is	   for	   the	   court	   to	  

determine	   [admissibility]	   before”	   the	   evidence	   is	   admitted.	   	   United	   States	   v.	   Jackson,	  

627	  F.2d	  1198,	  1218	  (D.C.	  Cir.	  1980);	  United	  States	  v.	  Urena,	  27	  F.3d	  1487,	  1491	  (10th	  

Cir.	  1994)(“The	  strongly	  preferred	  order	  of	  proof…is	  first	  to	  hold	  a…hearing	  outside	  

the	   presence	   of	   the	   jury”);	   United	   States	   v.	   James,	   590	   F.2d	   575,	   582	   (5th	   Cir.	  

1979)(stating	  that	  “preferred	  order	  of	  proof”	  is	  to	  first	  hold	  a	  hearing	  to	  determine	  

admissibility	  of	  co-­‐‑conspirator	  statements).	  	  	  

                	  For	  the	  reasons	  discussed	  below,	  this	  Court	  should	  require	  such	  a	  hearing	  in	  

this	  case.	  	  	  

        II.             A	  pretrial	  hearing	  on	  the	  admissibility	  of	  co-­‐‑conspirator	  statements	  
                        would	   serve	   the	   interest	   of	   judicial	   economy,	   reduce	   surprise,	   and	  
                        ensure	  a	  fair	  trial	  
	  
                If	  there	  was	  ever	  a	  case	  which	  called	  out	  for	  pretrial	  hearing	  on	  co-­‐‑conspirator	  

statements,	  it	  is	  this	  one.	  	  The	  government	  has	  indicted	  Ms.	  Rayfield	  along	  with	  38	  

other	  defendants	  and	  an	  unspecified	  number	  of	  other	  persons	  “known	  and	  unknown	  

to	   the	   grand	   jury”	   with	   participating	   in	   a	   RICO	   conspiracy	   beginning	   “at	   a	   date	  

unknown	   to	   the	   grand	   jury.”	   	   Unlike	   many	   racketeering	   indictments	   in	   the	  

jurisdiction,	  the	  government	  makes	  no	  claim	  that	  the	  defendants	  were	  members	  of	  a	  
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single	   criminal	   enterprise	   such	   as	   a	   gang.	   	   According	   to	   the	   indictment,	   the	   RICO	  

enterprise	  is	  the	  prison	  itself.	  	  

            With	  a	  conspiracy	  this	  large	  and	  ill-­‐‑defined,	  it	  will	  be	  next	  to	  impossible	  for	  the	  

Court	  to	  decide	  on	  the	  fly	  what	  hearsay	  statements,	  if	  any,	  qualify	  as	  co-­‐‑conspirator	  

statements.	  	  If	  it	  becomes	  clear	  part	  way	  through	  trial	  that	  the	  government	  cannot	  

prove	  a	  single	  over-­‐‑arching	  conspiracy,	  the	  record	  will	  be	  so	  polluted	  with	  error	  that	  

a	  mistrial	  will	  be	  the	  only	  remedy.	  	  A	  pretrial	  James	  hearing	  is	  therefore	  necessary	  

and	  proper.	  

                                                    	  CONCLUSION	  
                                                              	  
	          For	  the	  foregoing	  reasons,	  Ms.	  Rayfield	  respectfully	  moves	  this	  Court	  to	  order	  

a	  pretrial	  hearing	  to	  determine	  the	  admissibility	  of	  co-­‐‑conspirator	  statements.	  

	  

                                                                                   Respectfully Submitted,

                                                                                   By:

                                                                                   /s/ Charles Burnham

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                             CERTIFICATE OF SERVICE

       I cer tify that this motion has been filed thr ough the Cour t’s CM/ECF system,

which automatically sends a notice of such filing to all affected par ties. 	  



                                                      Respectfully Submitted,

                                                      By: /s/ Charles Burnham
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